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                                                                Unsecured Creditors

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------- x
In re:                                                      :    Chapter 11
                                                            :
Residential Capital, LLC, et al.,                           :    Case No. 12-12020 (MG)
                                                            :
                                    Debtors.                :    Jointly Administered
                                                            :
----------------------------------------------------------- x

      NOTICE OF ENTRY OF CONFIRMATION ORDER AND OCCURRENCE OF
    EFFECTIVE DATE CONFIRMING THE SECOND AMENDED JOINT CHAPTER 11
        PLAN PROPOSED BY RESIDENTIAL CAPITAL, LLC, ET AL. AND THE
              OFFICIAL COMMITTEE OF UNSECURED CREDITORS

1.      Confirmation of the Plan. On [●], 2013, the United States Bankruptcy Court for the
Southern District of New York (the “Bankruptcy Court”) entered the Order Confirming Second
Amended Joint Chapter 11 Plan Proposed by Residential Capital, LLC, et al. and the Official
Committee of Unsecured Creditors [Docket No. [●]] (the “Confirmation Order”) confirming
the Second Amended Joint Chapter 11 Plan Proposed by Residential Capital, LLC, et al. and the
Official Committee of Unsecured Creditors [Docket No. 6030-1] (as may be amended, modified
or supplemented from time to time, the “Plan”).1

2.      Effective Date. On [●], 2013, pursuant to the satisfaction of the conditions set forth in
Article X.B of the Plan, the Effective Date of the Plan occurred, and the Plan was substantially
consummated.

3.     Bar Date for Administrative Claims. Except as otherwise provided in Article II.A of
the Plan, the Confirmation Order, or any other applicable order of the Bankruptcy Court, all

1
     Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Plan.


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requests for payment of an Administrative Claim accrued on or before the Effective Date must
be made in writing, conform to the Bankruptcy Rules and the Local Rules for the United States
Bankruptcy Court Southern District of New York (the “Local Bankruptcy Rules”), be filed
with the Bankruptcy Court, and served on the Plan Proponents or the Liquidating Trust, as
applicable, so as to be received no later than January [●], 2014 (the “Administrative Claims
Bar Date”). Holders of Administrative Claims that are required to, but do not, file and serve a
request for payment of such Administrative Claims by the Administrative Claims Bar Date shall
be forever barred, estopped and enjoined from asserting such Administrative Claims against the
Debtors, the Plan Trusts, or their assets or properties, and such Administrative Claims shall be
deemed discharged as of the Effective Date.

4.      Deadline for Professional Claims. All final requests for payment of Professional
Claims and expenses for services rendered before the Effective Date, including any holdback
amounts, must be filed with the Bankruptcy Court and served on the Debtors and the Liquidating
Trustee so as to be actually received no later than March [●], 2014, and must comply with the
applicable provisions of the Bankruptcy Rules, the Local Bankruptcy Rules, and the procedures
established by the Bankruptcy Code and prior Bankruptcy Court orders.



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5.     Access to Court Documents. The Confirmation Order, the Plan, copies of the
documents included in the Plan or any other document filed in these Chapter 11 Cases are
available: (a) by calling the Debtors’ restructuring hotline at (888) 251-2914 or by visiting the
Debtors’ restructuring website at www.kccllc.net/rescap, or (b) for a fee via PACER by visiting
www.nysb.uscourts.gov.

Dated: December [ ], 2013
       New York, New York
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